                       UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF WISCONSIN
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UNITED STATES OF AMERICA,

                       Plaintiff,                                    Case No. 06-CR-35

               vs.

MOUHSEN LASSILA,
MOHAMMED NEMOUCHE,
ABDERRAHIM TAHRI,
YOUNESS ATTOBI, and
SHAHER RAMADAN MAHMOUD,

                  Defendants.
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                       FINAL ORDER AND JUDGMENT
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       The Court, having considered the motion of the United States of America together with the

affidavit of Assistant United States Attorney Timothy W. Funnell, and being satisfied that the terms

and provisions of Title 21, United States Code, Section 853 have been satisfied,

       IT IS ORDERED, pursuant to Title 21, United States Code, Section 853, 28 United States

Code, Section 2461(c), and Title 18, United States Code, Sections 981(a), 1343, 1349, 1956(c)(7),

and 1961(1), that the United States of America has clear title to the following properties and may

dispose of according to law:

               1.      Approximately $733.86 in United States currency seized on or about August
                       17, 2005, from defendants Mahmoud and Attobi and a rented vehicle;

               2.      Miscellaneous items of electronic equipment seized on or about August 17,
                       2005, from defendants Mahmoud and Attobi and a rented vehicle, which
                       items are more particularly described as follows:

                               A.      Two (2) Toshiba Satellite M45-S2652 Laptop Computers;
                               B.      One (1) Toshiba Satellite A55-S106 Laptop Computer;



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                       C.      Three (3) Sony PSP-1001K Value Packs;
                       D.      Fourteen (14) Apple I-Pods, 4 gb;
                       E.      Three (3) Creative Zen Micro MP3 Players;
                       F.      One (1) Sony Cyber-Shot DSC-H1 Digital Camera;
                       G.      Two (2) Motorola RAZR V3 Cellular Telephones;
                       H.      Two (2) Apple I-Pods, 20 gb
                       I.      One (1) PSP Game “ATV”;
                       J.      One (1) PSP Game “FIFA Soccer”; and
                       K.      One (1) PSP Game “Midnight Club”;

          3.    Miscellaneous items of electronic equipment seized on or about November
                7, 2005, from defendants Tahri, Lassila, Nemouche and Mahmoud, and their
                respective hotel rooms, and a rented vehicle, which items are more
                particularly described as follows:

                       A.      Four (4) Toshiba Satellite A55-S106 Laptop Computers;
                       B.      One (1) Toshiba Satellite M45-S2652 Laptop Computer;
                       C.      One (1) Toshiba Satellite M45-S2692 Laptop Computer;
                       D.      Eight (8) Sony Playstation2 PS2 Units;
                       E.      Three (3) Canon EOS Rebel XT Kits;
                       F.      One (1) Motorola RAZR V3 Cellular Telephone;
                       G.      Four (4) Nintendo DS Units;
                       H.      Eight (8) GameBoy Advance SPs;
                       I.      Two (2) Apple I-Pods, 30 gb;
                       J.      Two (2) Sony PSP-1001K Value Packs;
                       K.      One (1) Sony Cyber-Shot Digital Camera; and
                       L.      One Sony VGN-FS620/W Personal Computer with serial
                               number S01-4903928-L;

          4.    Approximately thirty-four (34) Wal-Mart gift cards seized on or about
                November 7, 2005, from defendants Tahri, Lassila, Nemouche and
                Mahmoud, and their respective hotel rooms, and a rented vehicle;

          5.    Numerous Wal-Mart/AT&T pre-paid telephone cards seized on or about
                November 7, 2005, from defendants Tahri, Lassila, Nemouche and
                Mahmoud, and their respective hotel rooms, and a rented vehicle;

          6.    Approximately $1,416.00 in United States currency seized on or about
                November 7, 2005, from defendants Tahri, Lassila, Nemouche and
                Mahmoud, and their respective hotel rooms, and a rented vehicle; and

          7.    Approximately eight Fast Card/Go-Phone pre-paid telephone cards seized
                on or about November 7, 2005, from defendants Tahri, Lassila, Nemouche
                and Mahmoud, and their respective hotel rooms, and a rented vehicle.


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       IT IS FURTHER ORDERED, that the United States Marshal Service shall sell items 1

through 5 and item 7. The proceeds from the sale of these items minus expenses shall be sent in the

form of a check to the Clerk of Court for the Eastern District of Wisconsin to be applied to the

restitution owed to Discover Financial Services and U.S. Bank in United States v. Mouhsen Lassila,

et al., Case No. 06-CR-35. The Clerk of Court for the Eastern District of Wisconsin is directed to

apply this amount to the restitution ordered in Case No. 06-CR-35.

       IT IS FURTHER ORDERED, that the United States Marshal Service shall issue a check

for $2,149.86 (items 1 and 6) to the Clerk of Court for the Eastern District of Wisconsin to be

applied to the restitution owed to Discover Financial Services and U.S. Bank in United States v.

Mouhsen Lassila, et al., Case No. 06-CR-35. The Clerk of Court for the Eastern District of

Wisconsin is directed to apply this amount to the restitution ordered in Case No. 06-CR-35.

       Dated at Green Bay, Wisconsin, this 21st day of February, 2007.



                                              s/ William C. Griesbach
                                              HONORABLE WILLIAM C. GRIESBACH
                                              United States District Judge




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